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                     Exhibit 22
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                                       WORK ORDERS (AS OF 25 OCT 20)
                                                           = CLOSED CELL


I1 – 1 dayroom sink (no water) #610292, showers (slow drain) #610293, 1 dayroom toilet (inoperable) #616414 103 sink
(high water pressure) #607139 107 toilet (leak, caulk coming off) #607142 & sink (high pressure) #607140
109 foundation leak #577218 118 sink (no water) #607143 121 sink (no water) #617240

J1- mold in dayroom shower, bathroom and shower (leaking into dayroom) #607145 and light fixture loose #609069,
Officers’ panel is completely off (buttons and indicators not working) #599035, plumbers chase between cells 111 & 112
(leak creating pool of water) #607146, bathroom ceiling(leaking) #620161 101 sink (no water) #610294 105 sink (no hot)
#610295 108 toilets (leaking) 600815/600816 110 sink (clogged) #589772 112 toilet (leaking) 114 Sink (no running
water) #626270 116 sink (clogged) #600814 118 Cell (No light) #629607 119 sink (water turned off) #610085 121 & 122
sinks (back up into each other leaving black substance) #608501 122 sink (clogged) #575866 123 Toilet (pipe leaking)
#617483

K1- dayroom showers & cells (no hot water) #625790, dayroom sink (clogged) #575734 & 1 sink (no hot) #586416,
shower light is inoperable #597867/water in light #600009 & water dripping from shower ceiling, ceiling (leak by
dayroom tables) #607148 103 Sink (clogged) 104 Sink (clogged 105 toilet (leak) #610296 #607147 109 Sink (not working)
#626273 110 toilet (leak) #617241 111 sink (slow drain) #596555 116 toilet (leaking) #600002 118 toilet (leak) #587010
119 sink (clogged & low pressure) #587011

L1- Camera monitors (black) #574204, dayroom toilet (does not flush) & sink (brown water from sink) #605453
112 sink (high water pressure) #606847 118 Sink (no water)

M1- dayroom light switches (install plexiglass) #608505, dayroom corkboard (destroyed) #597873, TV sound bar
#594653, bathroom ceiling (minor hole & dripping) #587017 & 567973 & toilet (leak, flooding into dayroom) #600004
101, 106 & 107 wall leak onto catwalk #608503 101 ants (called in) 102 sink (no water) #610297 105 toilet (leaking onto
catwalk) #607149 106 light fixture (loose) #608504 & sink (low pressure) #610298, light switch not working,

N1- mold in bathroom (sinks & walls), dayroom electrical box cover missing #597871, dayroom stairs going to lower deck
(rubber coming off) #591435, 2 dayroom sinks (slow drain and water comes up when toilet is flushed) #608507, slop sink
(leak) #600005, stairwell needs bulb replacement, flooding between cells 107 & 108 #629610 101 sink (no hot
water/running) #568842/leak from wall #600276 102 toilet/sink (leaking) #627194 #627208 107 sink (hot low water
pressure & cold high water pressure) #607153 114 sink (high water pressure) #607154 119 Sink (clogged) #627962 120
toilet (leaking) #630359

P1 – shower (low pressure) #607155, Inmate grievance box is smashed #597870, Officers’ interlock stuck #596801
101 sink (no water) #607156 toilet (clogged) #629945 103 sink (clogged) #615782 106 Sink (no water) #629606 115 toilet
(constant flushing) #617245 116 sink (constantly runs & clogged) #608508 & 608509 119 sink (clogged) #607157 122
sink (no water) #607158

Q1- 2 dayroom sinks (no water) #610299, shower handicap nozzle (broken) #610300, bathroom outlet cover exposed in
dayroom #597868, bottom deck (the wall on the Northwest corner near cell 102 Sink(no water) #626447 112 paint is
chipping, the paint is cracked and falling on the floor) {101 (579178) (not registering locked on control board)} 104 Toilet
(clogged) #626268 106 sink (leaks from wall)(no running water) #626269 #605451 110 toilet(Inoperable) #618178 111
ceiling (cracked & cement falling) #596481 112 toilet (will not turn off) #607159
115 toilet (constantly flushing) #615781 #619579 120 sink (clogged) #610687 124 sink (high water pressure) #615780

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I2 -Officers’ interlock slams shut/leaking oil #598530, dayroom phone wires exposed, no bathroom mirrors,
 3 camera monitors (black) #588192, 1 shower (stuck on hot & very humid #588528 & 588529) 1 dayroom sink (slow
drain) #591547, 1 dayroom sink (no hot) #591034 201 sink (no hot) #610307 #617246 205 Sink ( not running water)
#625815 207 sink (no water) #610308 211 sink (no hot) #608720 212 Toilet (not flushing) 213 sink (high water pressure)
#610309 216 sink (slow drain) #591549 217 sink clogged #598208 218 sink (no hot) #586421 220 sink (cold pressure high
& no hot) #61310,610311 221 sink (no hot) #610312 & toilet (button leaks) #591551
222 toilet (gap around toilet) #588195 224 sink (no water) #610313

J2- 2 dayroom phones (static) called in, 2 camera monitors (black) #588200, dayroom vents (clogged & very humid
#588531 & 588530), dayroom ceiling (leak) #576370, dayroom toilet (flushes constantly) #610301 202 sink (no hot)
#598527 203 toilet (leak) #617250 209 toilet (shifts and leaking) #630360 213 sink (cold pressure) 214 sink (high
pressure) #598528 224 toilet (not anchored to wall) & sink (high water pressure) #605454

K2- dayroom toilet (inoperable) #616426 #63036, dayroom ceiling (leak) #616428, 2 dayroom sinks (1 constantly running
#595928 & 1 no hot #598531) 214 Lights (not working) #626274 218 Sink (constantly running) #627961

L2- 4 camera monitors (white), 1 dayroom phone (not working) called in, dayroom toilet (leaking) #598532 204 toilet
(clogged) 207 sink (no hot) 209 & 210 toilet fills when other one is flushed #605455 214 sink (clogged) #610302 216 sink
(clogged) #590846 & toilet (detached from wall and overflowing) #628083

M2- shower (constantly running) #606850, wing door closes to officer’s interlock (lock recycling – unable to secure until
ceases) #594655 201 sink (running) #599038 205 & 206 plumbers chase (leak) #608511 211 sink (water discolored)
#599037 216 Toilet 218 sink (clogged) #606852 Toilet ( not operable) #626271 #628084 219 toilet (flushes constantly)
#610087

N2- Day outlet (wires exposed) #627192, showers (no hot water) #606863, door buttons malfunction #577838, dayroom
toilet (leak at base) #575986, officer’s Interlock (outlet wires exposed) #627193 205 sink (no cold) # 606858 206 Sink (no
water)618579 207 sink (have to flush toilet to work) #606860 208 toilet (leak) #576688 209 & 210 sink (clogged and high
water pressure) #606861 & 606862 212 toilet (flushes constantly) #610088 213 Toilet (not flushing) #626272 214
unknown (leak in front of door) #586425 & sink (clogged) #610303 216 sink (low water pressure) #595723 217 sink (no
hot) & toilet (leak) #610304,610305 218 sink (low pressure) #595724 219 sink (no cold) #595718

P2- dayroom ceiling (leaks) #6164242, dayroom toilets (leak) #592285, light fixture between 219-222 leaks when it rains
#591559, slop sink located near 212 missing drain cover #595930 208 toilet (constantly flushing) #620158 209 - toilet
(clogged) #595931 212 toilet (will not stop flushing #609526 215 – toilet filling and draining slowly #596260

Q2 – dayroom phone (not functioning, exposed wires), 1 shower (inoperable) #616421, 2 dayroom sinks (no hot)
#590420 & 591035, 1 dayroom toilet (inoperable) #616422 dayroom tier door (need to replace glass) #575798, dayroom
ceiling (leak near cells 214 & 215 #587274 & 223 & 224 #591563) 204 sink (clogged) #608721 206 toilet (constantly
flushes, sometimes overflow) #608169 209 sink (no hot) & button sticks #605450 211 sink (no hot) #607361 & clogged
212 toilet (leak) #594092 & sink (clogged) #594677 217 toilet (leak) #608170 Sink (constantly running) #628081 219
sink (clogged) #610314 220 Sink (clogged) #628082 224 sink (clogged) #608723 & toilet (doesn’t flush) #610315

                           Laundry Room Washing machine is draining very slowly #598209
                           nd
                         2 Fl. Female Bathroom (Unsecured Side) light needs to be replaced
            Stairwell by Gym Interlock light needs to be replaced #596558, fountains (inoperable) #616429
                        Middle Gym Roof leaking a blue substance onto the floor and computer


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